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      EXHIBIT 2
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                                                                    Page 1
                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


        IN RE: XARELTO (RIVAROXABAN)          ) MDL 2592
        PRODUCTS LIABILITY LITIGATION ) SECTION L
                                              )
        THIS DOCUMENT RELATES TO ALL          ) JUDGE ELDON E. FALLON
        CASES                                 )
                                              ) MAG. JUDGE NORTH
        ______________________________)


          PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW


         VIDEOTAPED DEPOSITION OF JOACHIM H. IX, M.D., MAS


                            LA JOLLA, CALIFORNIA
                              DECEMBER 6, 2016




                      REPORTED BY: AUDREY L. RICKS,
                       CSR No. 12098, CCR, RPR, CLR




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                                                                    Page 2
   1                  UNITED STATES DISTRICT COURT
   2                  EASTERN DISTRICT OF LOUISIANA
   3
   4    IN RE: XARELTO (RIVAROXABAN)          ) MDL 2592
        PRODUCTS LIABILITY LITIGATION ) SECTION L
   5                                          )
        THIS DOCUMENT RELATES TO ALL          ) JUDGE ELDON E. FALLON
   6    CASES                                 )
                                              ) MAG. JUDGE NORTH
   7    ______________________________)
   8
   9
 10
 11
 12             VIDEOTAPED DEPOSITION OF JOACHIM H. IX, MD,
 13     MAS, taken on behalf of the Defendants, at 3299
 14     Holiday Court, La Jolla, California, commencing at
 15     9:03 a.m. and ending at 5:24 p.m., Tuesday, December
 16     6, 2016, before Audrey L. Ricks, RPR, CCR, CLR,
 17     Certified Shorthand Reporter, No. 12098.
 18
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                                                                    Page 3
   1    APPEARANCES:
   2
   3    For Plaintiff:
   4                 LEVIN PAPANTONIO THOMAS MITCHELL RAFFERTY
                      & PROCTOR, P.A.
   5                 BY:   NED McWILLIAMS, ESQ.
   6                 316 South Baylen Street, Suite 600
   7                 Pensacola, Florida 32502
   8                 850-435-7000
   9                 nmcwilliams@levinlaw.com
  10
  11    For Plaintiff:
  12                 GOZA & HONNOLD, L.L.C.
  13                 BY:   BRADLEY D. HONNOLD, ESQ.
  14                 11181 Overbrook Road, Suite 200
  15                 Leawood, Kansas 66211
  16                 913-451-3433
  17                 bhonnold@gohonlaw.com
  18
  19    For Defendant Janssen Pharmaceuticals:
  20                 THOMPSON & KNIGHT LLP
  21                 BY: TIMOTHY E. HUDSON, ESQ.
  22                 1722 Routh Street, Suite 1500
  23                 Dallas, Texas 75201
  24                 214-969-1540
  25                 tim.hudson@tklaw.com



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                                                                    Page 4
   1    APPEARANCES: (Continued)
   2
   3    For Defendant Bayer:
   4                  NELSON MULLINS
   5                  BY: ERIC A. PAINE, ESQ.
   6                  -AND-
   7                  BY: WESLEY T. MORAN, ESQ.
   8                  1320 Main Street, 17th Floor
   9                  Columbia, South Carolina 29201
  10                  803-255-9585
  11                  eric.paine@nelsonmullins.com
  12                  wes.moran@nelsonmullins.com
  13
  14    Also Present:
  15                  Craig Ellingson - Legal Video Specialist
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25



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                                                                     Page 46
   1                 THE WITNESS:      So do I answer?
   2                 MR. McWILLIAMS:       You can answer.
   3                 THE WITNESS:      No.
   4    BY MR. PAINE:
   5          Q      Have you reviewed anything or learned
   6    anything since you prepared your report that changes
   7    any of your opinions?
   8          A      No.
   9          Q      Have you reviewed any additional
  10    materials, whether it's, you know, medical
  11    literature or other documents, any materials
  12    whatsoever, that should be included now in your
  13    references that was not included originally?
  14          A      Yesterday I looked at the new -- I'm sure
  15    there's a better term -- but the package insert for
  16    Xarelto, the official prescribing information.                   I
  17    believe there's an updated version.             The version I
  18    used for my report, I believe, was in May.               I
  19    believe the most recent one is a version from
  20    August.
  21          Q      All right.      So with the exception of
  22    adding the more recently revised label from August
  23    of this year, is there anything else you can think
  24    of that you've seen since you prepared your report
  25    that you would want to add to your references?



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                                                                   Page 47
   1          A      No.
   2          Q      Have you reviewed any medical records of
   3    any particular plaintiff in the Xarelto litigation?
   4          A      No.
   5          Q      Have you reviewed any of the defense
   6    expert reports for the Xarelto litigation?
   7          A      No.
   8          Q      Were you provided any?
   9          A      No.
  10          Q      Do you know Dr. Miran Najiran [phonetic]?
  11          A      No.
  12          Q      When I'm striking three things, that's a
  13    good sign.
  14                 MR. McWILLIAMS:       I agree.
  15    BY MR. PAINE:
  16          Q      Have you reviewed any of your -- well,
  17    that's probably poorly phrased.
  18                 Have you reviewed any reports by any of
  19    the other plaintiffs' experts in the Xarelto
  20    litigation?
  21          A      No.
  22          Q      Turning to the bibliography to your
  23    report -- I think you told me this already -- but
  24    did you review all of these articles in -- in
  25    connection with the preparation of your report?



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                                                                   Page 48
   1          A      For the most part, yes.         Many of these are
   2    references that I either wrote and so know very well
   3    or have used in context of other -- other, you know,
   4    work.
   5                 So if you're asking if I've read each of
   6    these beginning to end for the purpose of this
   7    review only, the answer would be no.
   8          Q      I think that's called answering a better
   9    question than I asked.         Thank you.
  10                 So, yeah.     You are familiar with all of
  11    the references --
  12          A      Yes, sir.
  13          Q      -- that are listed in your bibliography?
  14          A      Yes.    Yes, sir.
  15          Q      And to the extent there were materials
  16    that you had not seen before -- you know, obviously
  17    putting aside the articles that have your name on
  18    them -- were there any references that were provided
  19    to you by plaintiffs' counsel that are on your
  20    bibliography?
  21          A      Yes.
  22          Q      And were there other references that you
  23    found through your own research and reading?
  24          A      Yes.
  25          Q      Do you recall which of the articles were



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                                                                   Page 49
   1    provided to you by plaintiffs' counsel?              And I
   2    realize that's a long list --
   3          A      Yeah.
   4          Q      -- but any in particular stick out to you?
   5          A      Could I maybe give you a -- a general
   6    answer?     Then you can ask away.
   7          Q      Absolutely.
   8          A      So it's my preference to begin with a
   9    clean slate.      So I sat dawn and reviewed the
  10    literature on my own.         In some instances, there were
  11    documents that I could not get my hands on, and then
  12    there was instances I asked counsel for assistance.
  13                 I also asked to see PDF slide material of
  14    presentations that were made and FDA presentations
  15    that I did not get from PubMed myself.              Those were
  16    provided by Mr. McWilliams.
  17          Q      So if I understand correctly, basically,
  18    as you said, you started out with a clean slate and
  19    began kind of from square one doing your own reading
  20    on -- on the issues.
  21          A      Correct.
  22          Q      And to the extent you couldn't find things
  23    that you were interested in, you asked counsel to
  24    provide those to you, to the extent they could?
  25          A      Correct.



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                                                                   Page 50
   1            Q    And finally, if I understood correctly,
   2     there was a slide presentation, an FDA slide
   3     presentation, that you asked for and received from
   4     plaintiffs' counsel?
   5            A    Correct.
   6            Q    And is that -- can you identify that for
   7     me on your bibliography?
   8            A    I'm sure I can, if I can find it.
   9                 If you can find it and want to ask, that's
  10     perfectly fine.       It might save us some time.
  11                 MR. McWILLIAMS:        Do you care if I help
  12     him?
  13                 MR. PAINE:      No, no.     On that, fine.
  14                 MR. McWILLIAMS:        It may be 22.      I think
  15     that's the briefing book, but it may have included
  16     all of the advisory committee materials.
  17                 THE WITNESS:       I believe so.
  18     BY MR. PAINE:
  19            Q    All right.      And is there -- sorry, not to
  20     get ahead of ourselves -- but the -- Item Number 22,
  21     the FDA draft briefing document for the
  22     cardiovascular and renal drug advisory committee
  23     regarding the ROCKET-AFtrial, that's a pretty thick,
  24     2-, 3-, 400-page document; is that right?
  25            A    That sounds about right, yes.



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                                                                   Page 51
   1            Q    I'm just trying get a common frame of
   2     reference here.
   3            A    Yes.
   4            Q    To the extent in response to one of my
   5     earlier questions, you identified slide
   6     presentations or things like that.
   7                 Are there different -- were you referring
   8     to something different than the draft briefing
   9     document?
  10            A    I'm trying to get to what you want.
  11     This -- this was a long document, I think you are
  12     aware, that I reviewed.         I think you asked me before
  13     if I generated any images, slides, what have you.                  I
  14     did not.    I can't think of any other PDF-slide-type
  15     presentations that I -- that I relied on that were
  16     outside of the literature other than this one.                   Oh,
  17     boy.
  18            Q    I could give you disclaimer, but what's
  19     the fun in that?
  20                 Let me mark this, Doctor, as Exhibit 5.
  21                        (Exhibit 5 marked)
  22     BY MR. PAINE:
  23            Q    And tell me if that's a copy of or appears
  24     to be a copy of Reference 22 in your bibliography.
  25            A    You're --



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                                                                    Page 52
   1           Q     At this point, I just want to identify it.
   2           A     You'd like me to verify that it's the
   3     identical version without any changes on page 438?
   4                 MR. McWILLIAMS:        I doubt he changed
   5     anything.     It's --
   6                 THE WITNESS:       Let me see if I can --
   7                 MR. PAINE:      I didn't slip-sheet my
   8     interpretation or anything in there.
   9                 MR. McWILLIAMS:        Tied a few knots, but --
  10                 THE WITNESS:       I believe so.      Let me
  11     just -- yeah, I think this is it.            Yes, sir.     Yes.
  12     BY MR. PAINE:
  13           Q     That's fine.       And really, I just wanted to
  14     identify and make sure we're talking about the same
  15     thing.
  16                 Were there other materials from FDA or
  17     other slide presentations, things like that, that
  18     were provided to you by counsel other than, for
  19     instance, medical references that appeared in the
  20     published medical journal?
  21           A     There -- there were.         This is the only one
  22     they relied on.       I believe I was provided
  23     presentations made by Janssen and perhaps Bayer to
  24     the FDA.
  25           Q     And can you identify those for me on your



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                                                                   Page 53
   1     bibliography?
   2           A     If I didn't -- I don't think I reviewed
   3     them in detail.       I may not have cited them.          So they
   4     may be missing, which I recognize is in
   5     contradiction to what I told you before, but I would
   6     be happy to provide those.
   7           Q     And we would request those and with a
   8     reservation to obviously follow up with some
   9     additional questioning --
  10           A     Sure.
  11           Q     -- once we've had an opportunity to know
  12     what those are and to review them.
  13                 MR. McWILLIAMS:        I may be of assistance.
  14     I can tell what you it is.
  15                 MR. PAINE:      I appreciate that, but it
  16     doesn't help me today.         But if you could let me know
  17     what it is.
  18                 MR. McWILLIAMS:        He was given the entire
  19     batch materials relating to that advisory committee
  20     brief.    I think there's a briefing document by
  21     Janssen.    There's one by the FDA.          There was a
  22     transcript and then a PowerPoint by both the sponsor
  23     and the FDA.      I believe he was given that, and the
  24     transcript I've handed him already.             I believe he
  25     was given that entire package.



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                                                                  Page 166
   1     that there is just very limited data in patients
   2     with kidney function less than 30 as they were not
   3     included in large-scale trials.           So there's little
   4     published experience there.
   5           Q     Now, you have noted in your report that
   6     patients with creatinine clearances of less than 30
   7     were systematically excluded from large-scale
   8     clinical trials; right?
   9           A     Yes.
  10           Q     And am I correct, essentially, then, that
  11     your opinion with respect to the group of patients
  12     and the population of patients with the creatinine
  13     clearance of less than 30 is that Xarelto should be
  14     avoided in that group because there hasn't been
  15     sufficient testing for those patients?
  16           A     Correct.
  17           Q     Now, is it fair to say, Doctor, that you
  18     don't know and can't say to a reasonable degree of
  19     medical or scientific certainty how the testing that
  20     hasn't been done would come out, if it was done?
  21                 MR. McWILLIAMS:        Object to form.
  22                 THE WITNESS:       Correct.
  23                 Excuse me.      We're talking about
  24     large-scale clinical trials done with creatinine
  25     clearance less then 30 --



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                                                                  Page 169
   1     clearance of 15 for atrial fibrillation patients?
   2            A    You know, I don't know that I know all of
   3     the data.     I know what's in the package insert here
   4     in regards to that level of kidney function.               I know
   5     what's published by the PK/PD data in that study of
   6     kidney function.       And the FDA report that was
   7     Exhibit 5 also reproduced similar data, and I
   8     reviewed that in my review.
   9            Q    So back to the question I had a moment
  10     ago:   Even if you don't feel comfortable for your
  11     own patients with creatinine clearance less than 30
  12     in prescribing Xarelto to them at 15 milligrams, do
  13     you think the FDA got it wrong when they said or
  14     approved it down to 15 milliliters per minute?
  15            A    Again, I don't think my opinion is to
  16     second-guess the FDA.        My -- my opinion is based on
  17     the data that I have available to me.             The risk of
  18     bleeding appears higher in that level of kidney
  19     function.     The PD data in relation to rivaroxaban
  20     levels may be nonlinear; and therefore, my concern
  21     is that there may be higher risk of bleeding without
  22     additional large-scale trial data.
  23     BY MR. PAINE:
  24            Q    Doctor, I'm marking as Exhibit 8 to your
  25     report the KDIGO from the International Society of



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                                                                  Page 176
   1           Q     Just looking across the column there to
   2     the right-hand column, let me just direct your
   3     attention to kind of, I guess, it's
   4     Recommendation 4.4.5.
   5                 Do you see that?
   6           A     Yes.
   7           Q     It says:
   8                 "We recommend not using herbal remedies in
   9     people with CKD."
  10                 Did I read that correctly?
  11           A     Yes, you did.
  12           Q     If you go over to the next page, 102,
  13     under "Evidence-based," kind of almost in the middle
  14     of the page, there's an extension of that discussion
  15     about herbal.
  16                 Do you see that?
  17           A     Yes.
  18           Q     And it refers to herbals and
  19     over-the-counter medications being common, but some
  20     are known to be nephrotoxic, or toxic to the kidney;
  21     is that right?
  22           A     Yes, sir.
  23           Q     Do you agree with the next statement there
  24     that "There is no good-quality safety or efficacy
  25     data for many of these compounds"?



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                                                                  Page 177
   1           A     I mean, that's a very broad comment.                 I
   2     think I would generally agree, but I think we'd have
   3     to get into the specific compound or drug to give
   4     you comments on any one of them if you want me to
   5     agree globally in the universe.
   6           Q     No, I didn't intend to go and spend a lot
   7     of time on herbals and compound, but just to see if
   8     you generally agreed with that principle.
   9                 For instance, if in your clinical practice
  10     none of your patients came to you and said, "I've
  11     started taking a number of different supplements" --
  12           A     Yes.
  13           Q     -- and the patient had chronic kidney
  14     disease, would that be something that you would, in
  15     light of this statement, be concerned enough about
  16     to talk to your patient about in more detail?
  17           A     Well, yes, but I would come at it quite
  18     differently.
  19                 I think one of the things that they're
  20     citing here is aristolochic acid, and this is a
  21     worldwide recommendation.          Aristolochic acid is a
  22     known constituent of Chinese herbal medicines and
  23     also in, I believe, wheat in Eastern Europe and
  24     known to be nephrotoxic.
  25                 So I think they're talking about exposures



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                                                                  Page 322
   1                        REPORTER'S CERTIFICATION
   2            I, Audrey L. Ricks, Certified Shorthand
   3     Reporter, Certified Shorthand Reporter Number 12098,
   4     in and for the State of California, do hereby
   5     certify:
   6              That the foregoing witness was by me duly
   7     sworn to testify to the truth, the whole truth, and
   8     nothing but the truth in the within-entitled cause;
   9              That said deposition was taken at the time
  10     and place herein set forth;
  11               That the deposition is a true record of the
  12     witness's testimony as reported to the best of my
  13     ability by me, a duly certified shorthand reporter
         and a disinterested person, and was thereafter
  14     transcribed under my direction into typewriting by
  15     computer;
  16               That request [ X ] was [          ] was not made to
  17     read and correct said deposition.
  18                 IN WITNESS WHEREOF, I have subscribed my
  19     name on this __7th__ day of _December__, 2016.
  20
  21
  22
  23                        ____________________________
  24                        Audrey L. Ricks, CSR 12098
  25                        CCR, RPR, CLR



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